     Case: 1:18-cv-00193-MPM-DAS Doc #: 15 Filed: 03/26/19 1 of 3 PageID #: 107



                          IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF MISSISSIPPI
                                   ABERDEEN DIVISION

MORKITER JONES                                                                                PLAINTIFF

V.                                                     CIVIL ACTION NO: 1:18CV193-MPM-DAS

JARED BOOTH;
CITY OF COLUMBUS, MISSISSIPPI,
PARTICULARLY COLUMBUS POLICE
DEPARTMENT; and,
UNKNOWN DEFENDANTS A-Z                                                                     DEFENDANTS

               MOTION OF SEPARATE DEFENDANT, CITY OF COLUMBUS,
                         UNDER RULE 12(B)(6) TO DISMISS

          COMES NOW, the Separate Defendant, City of Columbus, Mississippi, by and through counsel,

and files this Motion to Dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure and in

support thereof would show unto the court the following:

          1.     The City of Columbus raised 12(b)(1) through 12(b)(6) in its Answer and Defenses filed

on December 20, 2018 at Docket No. 6.

          2.     The City of Columbus hereby files this Separate Motion to Dismiss pursuant to Rule

12(b)(6) for Failure to State a Claim for Which Relief May be Granted due to violation of and non-

compliance with the Mississippi Tort Claims Act by Plaintiff Jones. The City of Columbus states that the

state law claims ought to be dismissed with prejudice inasmuch as such claims are futile and Plaintiff did

not serve the pre-suit tort notice on the municipal clerk, failed to include the required statutory categories

of information in her attempted pre-suit tort notice and the claims should be barred by the Statute of

Limitations and full sovereign immunity as to all State law claims.

          3.     This motion is based on the allegations of the Complaint, the matters reflected in the

court file, applicable law and Exhibits “A”, “B” and “C”, which are filed contemporaneously with this

motion and incorporated herein by reference. This motion is also supported by Exhibit “D”, Affidavit of

Milton Rawle, former City Clerk of the City of Columbus at all times relevant.

          4.     City of Columbus reserves any and all other affirmative defenses not mentioned in this
                                                      1
1123224
     Case: 1:18-cv-00193-MPM-DAS Doc #: 15 Filed: 03/26/19 2 of 3 PageID #: 108



motion and does not waive its rights to file any additional motions based on its defenses as set forth in its

answer filed herein on December 20, 2018 at Docket No. 6.

          RESPECTFULLY SUBMITTED, this the 26th day of March, 2019.



                                                  CITY OF COLUMBUS

                                          BY:      /s/ Jeffrey J. Turnage (MSB #9447)
                                                  JEFFREY J. TURNAGE

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                                                      2
1123224
     Case: 1:18-cv-00193-MPM-DAS Doc #: 15 Filed: 03/26/19 3 of 3 PageID #: 109



                                 CERTIFICATE OF SERVICE

       I, Jeffrey J. Turnage, certify that on this day, I electronically filed the foregoing pleading
with the Clerk of the Court using the ECF system, which sent a true of and correct copy of the
foregoing pleading to the following:

                                       Katherine Kerby, Esq.
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                                       info@bradmorrislawfirm.com
                                       Attorneys for Plaintiff

          SO CERTIFIED, this the 26th day of March, 2019.



                                                       /s/ Jeffrey J. Turnage




                                                  3
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